Case 3:04-cr-00206-HES-MCR Document 1279 Filed 07/03/14 Page 1 of 2 PageID 3621




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA                            ZOIUUL - 3 AM /0: 35
                                 JACKSONVILLE DIVISION
                                                                              ",
                                                                               ;j:

                                                                                ,-jjJ_Lli=;1   .        .,.1, •. ,


UNITED STATES OF AMERICA,                                                                          -:. elroo . ·


v.                                                              Case No. 3:04-er-206-J-20MCR

ADRIAN ALEXANDER,

____________________________________________   ~I




                                                    ORDER

         Before the Court is Defendant's "Motion for Early Termination of Supervised Release" (Dkt.

1273, filed May 9, 2014), and Plaintiffs response in opposition thereto (Dkt. 1274, filed May 20,

2014). Upon review of the motion and having been otherwise fully advised, the Court denies

Defendant's motion.


         In denying the motion, the Court notes the seriousness of Defendant's offenses, Dkt. 1274,

~~ 1-2,6, and the previous reduction in Defendant's term of supervision (Dkt. 1239, filed Aug. 22,


2012).


Accordingly, it is ORDERED:

         1. Defendant's "Motion for Early Termination of Supervised Release" (Dkt. 1273, filed May

9,2014) is DENIED.

         DONE AND ENTERED at Jacksonville, Florida, this               2 JJ- day of July, 2014.
Case 3:04-cr-00206-HES-MCR Document 1279 Filed 07/03/14 Page 2 of 2 PageID 3622




Copies to:
David Barksdale, Esq.
Lee Bentley ill, Esq.
Tysen Duva, Esq.




                                      2
